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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


UNITED STATES OF AMERICA,                       )    Case No: 1:15 CV 1046
                                                )
        Plaintiff                               )    JUDGE SOLOMON OLIVER, JR.
                                                )
                v.                              )
                                                )
CITY OF CLEVELAND,                              )
                                                )    CITY’S STATUS CONFERENCE
        Defendant                               )    STATEMENT


        Defendant, City of Cleveland, respectfully submits this Status Conference Statement

regarding the Telephone Conference on March 20, 2024, at 2:00 p.m.

        City of Cleveland objects to the Monitoring Team’s request that the City pay for “billing

for billing” or otherwise pay to correct errors made by the Monitoring Team on its invoices.

Submitting and administering correct bills is a basic obligation that professionals should – and do

– assume as included in their standard rates.

        At a time when the Monitoring Team is seeking to more than double its annual budget, the

City should not be penalized or charged for reviewing incorrect invoices or for the time required

to address questionable bills. Discouraging City oversight of the charges assessed under the

Settlement Agreement will only undermine public confidence in this process.

   I.       Relevant procedural history

        After a status conference held on March 7, 2024, the Court granted the Parties’ Joint

Motion to Amend the Settlement Agreement (Related Doc # 502) and the United States’ Motion
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to Enforce the United States’ and Monitoring Team’s Access to Information (Related Doc # 509).

Left unresolved were certain Monitoring Team billing issues.

        On March 15, 2024, the Court scheduled a Telephone Conference for March 20, 2024,

directing the parties as follows:

        The parties should be prepared to discuss the billing disputes regarding the
        Monitoring Team’s invoices, as well as an update regarding the CPC document
        request process per the court’s discussion with the parties at the close of last
        Thursday’s Status Conference.

        The intent of this Status Conference Statement is to apprise the Court and the United States

of its position regarding one particular issue, “billing for billing.” The status of CPC document

production is addressed in a separate joint filing.

II.     Relevant background

        On April 12, 2023, Hogan Lovells, LLP, was approved as Independent Monitor (Doc #

474) pursuant to Paragraph 353 of the Settlement Agreement. The first bill submitted by Hogan

Lovells was its April/ May invoice, submitted on August 9, 2023, (although dated July 21, 2023).

On August 22, 2023, Cleveland asked for clarification about certain entries in an email to the

Monitor which copied the United States. Issues raised included lack of detailed descriptions,

combination of different tasks in the same description, and what appeared to be excessive billing

for attending a hearing. The Monitoring Team responded on September 12, 2023. The parties

resolved their differences, and the April/ May invoice was approved by Cleveland on October 3,

2023. The pattern established by the handling of the April/May invoice has been consistent in

subsequent invoices.

                              Late Invoices and Erroneous Charges

        Invoices are submitted weeks, or even months, after the activities at issue. (To date,

Cleveland has no record of receiving invoices for December, 2023, January, 2024, or February,

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2024.) Upon receipt, Cleveland then undertakes routine audits of both expenses and activities

billed. These audits are no different than those applied to outside counsel and other vendors billing

the City. Mathematical errors and obvious mistakes have been noted, along with more substantive

issues. Cleveland’s audits usually result in revisions to the invoices. For instance, in the April/

May invoice, Hogan Lovells agreed to remove hours that were spent working with the parties on

its acknowledgment letter.

       An independent third-party auditor likely would raise even more issues than Cleveland has

raised. The process takes time, however. The revised June invoice was not submitted by Hogan

Lovells until December 15, 2023, in an email from the Monitor. The same email noted that July

was revised and sent to the City on November 6, 2023, and August was submitted on October 19,

2023. Without revisiting previous disputes, Cleveland has pushed for improvements in billing

such as more detailed descriptions and separating out separate tasks into separate entries, and

fairness with regard to travel expenses. Important to note, the Monitoring Team’s more recent

invoices have heeded these calls. And there are no outstanding bills awaiting approval.

       Cleveland would disagree that audits are somehow unnecessary or inappropriate, or that

mark-downs based on the audits are de minimis. Cleveland’s discussions with the Monitoring

Team have resulted in significant savings for taxpayers. Cleveland owes a continuing duty to

conscientiously review each line item.

       The most important unresolved issue at this time is charging Cleveland for the process of

invoicing, i.e., “billing for billing.” Meg Olsen is the Billing Consultant for the Monitoring Team.

Her billing rate is $75 per hour. Applying the 15% pro bono discount, since the June invoice,

Cleveland has paid more than $4,200 for her time. Her time includes multiple follow ups internally

to make sure Monitoring Team members correctly document their time. In this regard, it is fair to



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say that the more mistakes or clerical difficulties she encounters interacting with fellow team

members, the more Cleveland is billed. Cleveland should not be billed to correct errors made by

the Monitoring Team.

       The Monitoring Team does not view these services as overhead.             In responding to

Cleveland’s audit of the August, 2023, invoice, the Monitoring Team stated, “Meg Olsen is a

billing consultant for the Monitoring Team. All of her time is spent on managing the billing

process.” This time is basic overhead that should not separately charged.

   More Than Doubling The 2024 Monitor’s Budget Requires More, Not Less, Oversight

       The City has an obligation to closely review the bills that are charged to its taxpayers.

Since the inception of the Settlement Agreement, the City has paid, on average, annualized fees of

$954,170.98. See Ex. A. On December 28, 2023, Hogan Lovells submitted a proposed budget of

more than $2.4 million. This request is more than twice the previous amounts paid by the City in

immediately prior years.

       On an itemized basis, the Monitoring Team is seeking $1,194,750 just for general

monitoring oversight alone. This is nearly a 25% increase over the average annualized budgets

for previous years.

       With regard to conducting five (5) assessments, the Monitoring Team requests $1,273,740.

As a point of reference, the City of Baltimore has an FY 2024 monitor’s budget of only $1,581,838,

which comprehensively includes regular real time oversight, community engagement, fourteen

(14) assessments and the costs of invoicing.

       Further, the errors apparently continue. In a review of the Monitor’s recently proposed

budget, the City identified over $233,000 in errors in the budget. (Note: to date, a revised budget




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has not been provided). The City should not be billed for correcting the errors of the Monitoring

Team.

III.     Legal Authority

         In the legal world, charging the client for the task of preparing invoices may be considered

improper when the task is ministerial or clerical in nature and does not require any kind of legal

expertise. Courts generally disfavor billing by law firms for time spent preparing invoices. See,

e.g., Fuller v. Fiber Glass Systems, LP, No. 4:07-CV-01120, 2009 WL 3067031, fn. 31 (E.D. Ark.,

Sept. 23, 2009) (“billing for billing – especially at $250 per hour – is inappropriate”); D’Lil v. Best

Western Encina Lodge & Suites, No. CV 02-9506, 2010 WL 11655476, *9 (C.D. Calif. April 13,

2010) (not allowing billing for billing).

         In a September 13, 2021, memo to the Attorney General, Associate Attorney General

Gupta recommended adoption of certain principles for monitorships of state and local

governmental entities. She commented:

         Though the cost of a monitorship ultimately depends on how swiftly a jurisdiction
         comes into compliance, monitorships must nonetheless be designed and
         administered with awareness that every dollar spent on a monitorship is a dollar
         that cannot be spent on other policy priorities.

(Memorandum for Heads of Civil Litigating Components, United States Attorneys, Sept.
13, 2021, https://www.justice.gov/ag/file/1166091-0/dl?inline).

         “Billing for billing” is paying for time that is spent for the financial best interests of the

Monitor. It does not by itself provide value to the City or to the Settlement Agreement. The City

does not pay its other vendors for the costs of preparing invoices, or for correcting them, – and it




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should not do so here. Cleveland has not sought the Court’s intervention but continues to believe

it should be relieved from this expense. 1

         The City submits that it should not be “billed for billing” or otherwise required to pay for

invoicing errors.

                                                       Respectfully submitted,

                                                       /s/ Mark D. Griffin
                                                       _____________________________
                                                       MARK D. GRIFFIN (0064141)
                                                       Director of Law
                                                       City of Cleveland
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                                   CERTIFICATE OF SERVICE
         A copy of the foregoing Response was sent via operation of the Court’s ECF system on

this 18th day of March, 2024 to all parties of record. A courtesy copy was emailed to counsel for

the United States, Patricia M. Fitzgerald (patricia.fitzgerald2@usdoj.gov); the Monitor, Karl

Racine       (karl.racine@hoganlovells.com);     and    counsel     for    CPC,     Martin    Bielat

(mbielat@clevelandohio.gov).

                                                       /s/ Mark D. Griffin
                                                       _____________________________
                                                       MARK D. GRIFFIN (0064141)
                                                       Director of Law




         1
               Although singling some of the relevant billing issues here, the City maintains its
positions regarding other billing issues that may be raised in the Telephone Conference. Those
positions have been previously articulated to the United States and the Monitoring Team in out-
of-court discussions.
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